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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Kristin Zilberstein (SBN: 200041)
 Jennifer R. Bergh (SBN: 305219)
 The Law Offices of Michelle Ghidotti
 1920 Old Tustin Ave.
 Santa Ana, CA 92705
 Tel: (949) 427-2010
 Fax: (949) 427-2732
 Email: kzilberstein@ghidottilaw.com




     Movant appearing without an attorney
     Attorney for Movant

                                          UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE
                                                                     Name of DIVISION
                                                                                DIVISION

 In re:                                                                    CASE NO.: 6:16-bk-20485-WJ
  Rudolph Martinez and Jill A. Martinez                                    CHAPTER: 13

                                                                                    NOTICE OF MOTION AND MOTION
                                                                                   FOR RELIEF FROM THE AUTOMATIC
                                                                                      STAY UNDER 11 U.S.C. § 362
                                                                                     (with supporting declarations)
                                                                                           (REAL PROPERTY)

                                                                           DATE: 02/06/2019
                                                                           TIME: 2:30PM

                                                             Debtor(s).    COURTROOM: 304

 Movant: MTGLQ Investors, L.P., its succesors and assigns



1. Hearing Location:
        255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
        21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
        3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 12/26/2018                                                             The Law Offices of Michelle Ghidotti
                                                                                  Printed name of law firm (if applicable)

                                                                                  Kristin Zilberstein, Esq.
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  /S/ Kristin Zilberstein
                                                                                  _____________________________________________
                                                                                  Signature of individual Movant or attorney for Movant




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              MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:
         X Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
           the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
         X Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
           mortgage or deed of trust) or (2) is the assignee of the beneficiary.
           Servicing agent authorized to act on behalf of the Holder or Beneficiary.
           Other (specify):


2. The Property at Issue (Property):

    a. Address:

          Street address: 26923 St. Julian Circle
          Unit/suite number:
          City, state, zip code: Murrieta, CA 92563

    b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
       trust (attached as Exhibit A   ):

3. Bankruptcy Case History:

    a. A     voluntary     involuntary bankruptcy petition under chapter                            7       11        12       13
       was filed on (date) 11/29/2016 .

    b.          An order to convert this case to chapter                7       11       12        13 was entered on (date)                    .
    c.          A plan, if any, was confirmed on (date) 01/18/2017 .

4. Grounds for Relief from Stay:

    a.          Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
          (1)         Movant’s interest in the Property is not adequately protected.
                (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.
                (B)       The fair market value of the Property is declining and payments are not being made to Movant
                          sufficient to protect Movant’s interest against that decline.
                (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                          obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
          (2)         The bankruptcy case was filed in bad faith.
                (A)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                          commencement documents.
                (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
                (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                          filing this bankruptcy case.
                (D)       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
                (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                          and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
                (F)       Other (see attached continuation page).


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          (3)         (Chapter 12 or 13 cases only)
                (A)       All payments on account of the Property are being made through the plan.
                              Preconfirmation      Postconfirmation plan payments have not been made to the chapter 12
                          trustee or chapter 13 trustee.

                (B)       Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                          been made to Movant.
          (4)         The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

          (5)         The Movant regained possession of the Property on (date)                                   ,
                      which is    prepetition   postpetition.

          (6)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

     c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.         Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:
          (1)         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval; or
          (2)         Multiple bankruptcy cases affecting the Property.

5.        Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.

     c.         Other (specify):



6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)
     a. The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.         Supplemental declaration(s).
     c.         The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit D        .
     d.         Other:



7.        An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:                11 U.S.C. § 362(d)(1)             11 U.S.C. § 362(d)(2)             11 U.S.C. § 362(d)(3).

2.       Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
         remedies to foreclose upon and obtain possession of the Property.

3.       Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
         modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
         servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.

4.       Confirmation that there is no stay in effect.

5.       The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
         enforce its remedies regarding the Property shall not constitute a violation of the stay.

6.       The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
         the same terms and conditions as to the Debtor.

7.       The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

8.       A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
         of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
             without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
             compliance with applicable nonbankruptcy law.

9.       Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
         governing notices of interests or liens in real property, the order is binding in any other case under this title
         purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
         except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
         circumstances or for good cause shown, after notice and hearing.

10.      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
         interest in the Property for a period of 180 days from the hearing of this Motion:
              without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

11.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
              without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

12.      Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
         Code § 2920.5(c)(2)(C).
13.      If relief from stay is not granted, adequate protection shall be ordered.

14.      See attached continuation page for other relief requested.

      Date: 12/26/2018                                                            The Law Offices of Michelle Ghidotti
                                                                                 Printed name of law firm (if applicable)
                                                                                 Kristin Zilberstein
                                                                                 Printed name of individual Movant or attorney for Movant
                                                                                 /S/ Kristin Zilberstein
                                                                                 Signature of individual Movant or attorney for Movant


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5. Type of property (check all applicable boxes):

     a.          Debtor’s principal residence                                b.            Other residence
     c.          Multi-unit residential                                      d.            Commercial
     e.          Industrial                                                  f.            Vacant land
     g.          Other (specify):

6. Nature of the Debtor’s interest in the Property:

    a.         Sole owner
    b.         Co-owner(s) (specify): Rudolph Martinez and Jill A. Martinez, Husband and Wife as Community Property
    c.         Lienholder (specify):
    d.         Other (specify):
    e.         The Debtor           did       did not list the Property in the Debtor’s schedules.
    f.         The Debtor acquired the interest in the Property by                        grant deed       quitclaim deed              trust deed.
               The deed was recorded on (date)                               .

7. Movant holds a      deed of trust                   judgment lien              other (specify)
   that encumbers the Property.
    a.         A true and correct copy of the document as recorded is attached as Exhibit A                            .
    b.         A true and correct copy of the promissory note or other document that evidences the Movant’s claim is
               attached as Exhibit B     .
    c.         A true and correct copy of the assignment(s) transferring the beneficial interest under the note and deed of
               trust to Movant is attached as Exhibit C   .

8. Amount of Movant’s claim with respect to the Property:
                                                                              PREPETITION                POSTPETITION                     TOTAL
    a.      Principal:                                                      $ 322,077.21                $ 322,077.21                $ 322,077.21
    b.      Accrued interest:                                               $ 4,049.40                  $ 4,049.40                  $ 4,049.40
    c.      Late charges                                                    $                           $                           $
    d.      Costs (attorney’s fees, foreclosure fees, other
            costs):                                                         $ 7,678.41                  $ 7,678.41                  $ 7,678.41
    e.      Advances (property taxes, insurance):                           $ 779.08                    $ 779.08                    $ 779.08
    f.      Less suspense account or partial balance paid:                  $[ 93.56                ]   $[ 93.56               ]    $[93.56                 ]
    g.      TOTAL CLAIM as of (date): 12/21/2018                            $ 334,492.11                $ 334,492.11                $ 334,492.11
    h.          Loan is all due and payable because it matured on (date)                                         *includes deferred amount of $196,048.57



9. Status of Movant’s foreclosure actions relating to the Property (fill the date or check the box confirming no such action
   has occurred):
    a. Notice of default recorded on (date)                                 or         none recorded.
    b. Notice of sale recorded on (date)                               or        none recorded.
    c.    Foreclosure sale originally scheduled for (date)                                  or   none scheduled.
    d. Foreclosure sale currently scheduled for (date)                                     or    none scheduled.
    e. Foreclosure sale already held on (date)                                    or      none held.
    f.    Trustee’s deed upon sale already recorded on (date)                                    or      none recorded.


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10. Attached (optional) as Exhibit       is a true and correct copy of a POSTPETITION statement of account that
    accurately reflects the dates and amounts of all charges assessed to and payments made by the Debtor since the
    bankruptcy petition date.

11.          (chapter 7 and 11 cases only) Status of Movant’s loan:
      a. Amount of current monthly payment as of the date of this declaration: $                                                    for the month of
                         20 .
      b. Number of payments that have come due and were not made:                                  . Total amount: $
      c.     Future payments due by time of anticipated hearing date (if applicable):
             An additional payment of $                          will come due on (date)              , and on the         day
             of each month thereafter. If the payment is not received within       days of said due date, a late charge of
             $                        will be charged to the loan.

      d. The fair market value of the Property is $                                          , established by:
             (1)       An appraiser’s declaration with appraisal is attached as Exhibit                       .
             (2)       A real estate broker or other expert’s declaration regarding value is attached as Exhibit                             .
             (3)       A true and correct copy of relevant portion(s) of the Debtor’s schedules is attached as Exhibit                             .
             (4)       Other (specify):


      e. Calculation of equity/equity cushion in Property:

             Based upon      a preliminary title report    the Debtor’s admissions in the schedules filed in this case, the
             Property is subject to the following deed(s) of trust or lien(s) in the amounts specified securing the debt against
             the Property:
                                                                                         Amount as Scheduled               Amount known to
                                                   Name of Holder
                                                                                           by Debtor (if any)            Declarant and Source
           1st deed of trust:                                                            $                               $
           2nd deed of trust:                                                            $                               $
           3rd deed of trust:                                                            $                               $
           Judgment liens:                                                               $                               $
           Taxes:                                                                        $                               $
           Other:                                                                        $                               $
           TOTAL DEBT: $

      f.     Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit                                and
             consists of:
             (1)       Preliminary title report.
             (2)       Relevant portions of the Debtor’s schedules.
             (3)       Other (specify):

      g.           11 U.S.C. § 362(d)(1) - Equity Cushion:
                   I calculate that the value of the “equity cushion” in the Property exceeding Movant’s debt and any lien(s)
                   senior to Movant’s debt is $                                          and is        % of the fair market value
                   of the Property.

      h.           11 U.S.C. § 362(d)(2)(A) - Equity:
                   By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
                   Paragraph 11(e) above, I calculate that the Debtor’s equity in the Property is $                                                    .



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      i.        Estimated costs of sale: $                                     (estimate based upon                     % of estimated gross sales
                price)
      j.        The fair market value of the Property is declining because:



12.        (Chapter 12 and 13 cases only) Status of Movant’s loan and other bankruptcy case information:
      a. A 341(a) meeting of creditors is currently scheduled for (or concluded on) the following date: 01/23/2017                                  .
         A plan confirmation hearing currently scheduled for (or concluded on) the following date: 01/30/2017 .
         A plan was confirmed on the following date (if applicable): 01/30/2017 .
      b. Postpetition preconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
             Number of         Number of          Amount of Each Payment
                                                                                                 Total
             Payments         Late Charges           or Late Charge
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
           (See attachment for additional breakdown of information attached as Exhibit ______.)
      c.   Postpetition postconfirmation payments due BUT REMAINING UNPAID since the filing of the case:
             Number of         Number of          Amount of each Payment
                                                                                                 Total
             Payments         Late Charges             or Late Charge
                3                                 $ 2,666.70                          $ 8,000.10
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
                                                  $                                   $
      d. Postpetition advances or other charges due but unpaid:                                              $
         (For details of type and amount, see Exhibit     )
      e. Attorneys’ fees and costs:                                                                          $ 1,081.00
         (For details of type and amount, see Exhibit _____)
      f.   Less suspense account or partial paid balance:                                                    $[ 91.99                           ]
                                TOTAL POSTPETITION DELINQUENCY:                                              $ 8,989.11
      g. Future payments due by time of anticipated hearing date (if applicable): 1         .
         An additional payment of $ 2,666.70                will come due on 01/01/2019 , and on
         the        day of each month thereafter. If the payment is not received by the    day of the month, a late
         charge of $                   will be charged to the loan.

      h. Amount and date of the last 3 postpetition payments received from the Debtor in good funds, regardless of how
         applied (if applicable):
          $ 2,600.00                    received on (date) 12/05/2018
          $ 2,700.00                    received on (date) 10/10/2018
          $ 2,700.00                    received on (date) 07/30/2018
      i.      The entire claim is provided for in the chapter 12 or 13 plan and postpetition plan payments are delinquent.
              A plan payment history is attached as Exhibit         . See attached declaration(s) of chapter 12 trustee or
              13 trustee regarding receipt of payments under the plan (attach LBR form F 4001-1.DEC.AGENT.TRUSTEE).
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13.        Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s obligation to
           insure the collateral under the terms of Movant’s contract with the Debtor.

14.        The court determined on (date)                  that the Property qualifies as “single asset real estate” as defined in
           11 U.S.C. § 101(51B). More than 90 days have passed since the filing of the bankruptcy petition; more than 30
           days have passed since the court determined that the Property qualifies as single asset real estate; the Debtor
           has not filed a plan of reorganization that has a reasonable possibility of being confirmed within a reasonable
           time; or the Debtor has not commenced monthly payments to Movant as required by 11 U.S.C. § 362(d)(3).

15.        The Debtor’s intent is to surrender the Property. A true and correct copy of the Debtor’s statement of intentions is
           attached as Exhibit           .

16.        Movant regained possession of the Property on (date)                                   , which is        prepetition         postpetition.

17.        The bankruptcy case was filed in bad faith:

      a.        Movant is the only creditor or one of few creditors listed in the Debtor’s case commencement documents.

      b.        Other bankruptcy cases have been filed in which an interest in the Property was asserted.

      c.        The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
                (or chapter 13 plan, if appropriate) have not been filed.

      d.        Other (specify):




18.        The filing of the bankruptcy petition was part of a scheme to delay, hinder, or defraud creditors that involved:
           a.         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval. See attached continuation page for facts establishing the scheme.
           b.         Multiple bankruptcy cases affecting the Property include:
                1. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:                Date filed:
                   Relief from stay regarding the Property    was      was not granted.

                2. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:                Date filed:
                   Relief from stay regarding the Property    was      was not granted.

                3. Case name:
                   Chapter:            Case number:
                   Date dismissed:                    Date discharged:               Date filed:
                   Relief from stay regarding the Property     was     was not granted.

                See attached continuation page for information about other bankruptcy cases affecting the Property.
                See attached continuation page for facts establishing that the multiple bankruptcy cases were part of a
                scheme to delay, hinder, or defraud creditors.




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 01/08/2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Debtor Counsel: Patricia M Ashcraft patriciamashcraft@yahoo.com, aschcraftpr66567@notify.bestcase.com
TrusteeRod Danielson (TR) notice-efile@rodan13.com
US TrusteeUnited States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov



                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/08/2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Debtor:Rudolph Martinez 26923 St .JulianCircle Murrieta, CA 92563 (US Mail)
Joint Debtor:Jill A. Martinez 26923 St .JulianCircle Murrieta, CA 92563 (US Mail)
Judge: Honorable Wayne Johnson 3420 Twelfth Street, Suite 384 Riverside, CA 92501-3819 (US Mail)



                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 01/08/2019                             Krystle Miller                               /s/ Krystle Miller
 Date                          Printed Name                                                  Signature


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2017                                                           Page 12                                          F 4001-1.RFS.RP.MOTION
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EXHIBIT “C”
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    EXHIBIT “D”
               Case
               Case6:16-bk-20485-WJ
                    6:16-bk-20485-WJ Doc
                                     Doc48
                                         1 Filed
                                             Filed11/29/16
                                                  01/08/19 Entered
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                                                                     01/08/1918:00:59
                                                                             16:53:36 Desc
                                                                                      Desc
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                                                                  60
 Fill in this information to identify your case:

 Debtor 1                   Rudolph Martinez
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Jill A. Martinez
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Chase Auto Finance                       Describe the property that secures the claim:                 $18,937.00                 $9,200.00           $9,737.00
         Creditor's Name                          2010 Mercedes C300 131,000 miles
         National Bankruptcy
         Dept
         201 N Central Ave Ms                     As of the date you file, the claim is: Check all that
                                                  apply.
         Az1-1191                                     Contingent
         Phoenix, AZ 85004
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 03/13 Last
                                 Active
 Date debt was incurred          9/26/16                   Last 4 digits of account number        7637


         Select Portfolio
 2.2                                                                                                          $349,977.00               $377,241.00                     $0.00
         Servicing, Inc                           Describe the property that secures the claim:
         Creditor's Name                          26923 St.JulianCircle Murrieta, CA
                                                  92563 Riverside County
                                                  As of the date you file, the claim is: Check all that
         PO Box 65250                             apply.
         Salt Lake City, UT 84165                     Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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            Case
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                 6:16-bk-20485-WJ Doc
                                  Doc48
                                      1 Filed
                                          Filed11/29/16
                                               01/08/19 Entered
                                                         Entered11/29/16
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                                                                          16:53:36 Desc
                                                                                   Desc
                                  Main Document     Page 63
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                                                               60
 Debtor 1 Rudolph Martinez                                                                         Case number (if know)
              First Name                Middle Name                      Last Name
 Debtor 2 Jill A. Martinez
              First Name                Middle Name                      Last Name


    Check if this claim relates to a                  Other (including a right to offset)
    community debt

                              Opened
                              06/06 Last
                              Active
 Date debt was incurred       6/22/16                     Last 4 digits of account number   1845



   Add the dollar value of your entries in Column A on this page. Write that number here:                        $368,914.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                       $368,914.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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